 

“Case 2:20-cv-00014-JPJ-PMS Document 117

Melinda Scott

PO BOX 1133

Richmond, VA 23218
Friday, November 19, 2021

Clerk

Western District of Virginia
180 W. Main. St, Rm. 104
Abingdon, VA 24210

To the clerk of the court:

Filed 11/22/21 Page1of3 Pageid#: 926

CLERK'S OFFICE U.S. DIST. COURT
AT ABINGDON, VA
FILED

NOV 22 2021

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cr

Please issue the enclosed Subpoena to Defendant Joshua Moon. The Subpoena requests that he

mail me, electronically or otherwise, the IP address, email and identifying information of John Doe

“Useful_Mistake".

Thank you,

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Melinda Scott
540-692-2342
Case 2:20-cv-00014-JPJ-PMS Document117 Filed 11/22/21 Page2of3 Pageid#: 927

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the
te tt, Melinda
Civil ActionNo. 9 OOCUY/ of
Nise Cp. OSS et. Al.)

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: _ G13 Beal PEwy NW, S7e. A ~/o/
Joshua | OO/L — Fort Walton Beach, FL. 3B2SY 4

(Name of person to whont this subpoena ts directed)

Wroduction: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material: r P Gddress, regisvered ven red Orople fame, tind arty other ryprmahon
ovr possession regarding rople "Usefil—Aaisicak “ enavted To
jn linda Seow and by pis / mad

| Place: Email and postal mail Grd. | Date and Time: By 12/05/21 |
Wek of the Covet nea) | ;

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

 

Place: : Date and Time:

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
OR

 

 

Signature of Clerk or Deputy Clerk oS Altorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Pennit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

(1 I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

4 I retumed the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ a for travel and $ __ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
